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                    DECLARATION OF GRACE AHN


I, Grace Ahn, hereby declare as follows:

1.    I have personal knowledge of the matters stated herein and would

testify to the same if called as a witness in Court.

2.    I am over the age of 18 years of age. I am a resident of Lawrenceville,

Georgia, which is located in Gwinnett County. I am a registered voter in

Gwinnett County, and my precinct is Sweetwater Middle School.

3.    I am a second-generation Korean American and am proficient in both

English and Korean.

4.    I am currently employed at Asian Americans Advancing Justice-

Atlanta (“Advancing Justice-Atlanta”) as a civic engagement coordinator. I

have served in this role since the beginning of October 2018. My duties as a

civic engagement coordinator include facilitating get out the vote (“GOTV”)

canvasses, coordinating with community partners on GOTV and other civic

engagement efforts, and leading election protection activities.

5.    For the November 6, 2018 elections, Advancing Justice-Atlanta ran an

interpretation services program for LEP voters. I was trained by another staff

member on how to serve as an interpreter. As part of my training, I was

informed that there are different rules about who can interpret in elections

where there is a federal candidate on the ballot, as opposed to strictly local
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or state elections. Based on my training, I understand that in non-federal

elections, I would be only be eligible to interpret for an LEP voter if the

voter were a family member or a voter in my precinct.

6.    Based on my training, I also understand that my role as an interpreter

is simply to help interpret for LEP voters what is on the ballot and not to in

any way try to influence how they vote.

7.    On or about November 5, 2018, I called Mr. Jin Kwon after a co-

worker informed me that Mr. Kwon had contacted our office to request

interpretation services for Election Day. During that conversation, which we

had in Korean, we arranged for me to meet him and his wife at Livsey

Elementary School at 9:00 AM the following morning to assist them both

with voting.

8.    On Election Day, I met Mr. and Mrs. Kwon at Livsey Elementary

School at 9:00 AM, as planned. Once there, I assisted Mr. and Mrs. Kwon

with completing a form they were required to fill out before they could vote.

Included on the form was a section that included a blank space for the name

of a person assisting a voter in a non-federal election and boxes that the

assister could check off to indicate their relationship to the voter. The only

available boxes were for a registered voter in the same precinct or the voter’s

sister, mother, father, brother, spouse, or child.
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9.     When I saw this section of the form, I let a poll worker know that I

would be assisting Mr. and Mrs. Kwon with voting but that I did not need to

write my name on the form or check off any boxes because there was a

federal candidate on the ballot. Furthermore, none of the available boxes

accurately describe my relationship to Mr. or Mrs. Kwon.

10.    The poll worker appeared to be confused and brought the poll

manager over. The poll manager told me that I was required to put my name

on the form. I objected, explaining that I was not required by law to write

my name on the form because there were federal candidates on the ballot.

She kept insisting. I eventually complied in order to be allowed to assist Mr.

and Mrs. Kwon. However, when she tried to make me check a box

indicating my relationship to the Kwons, I continued to refuse because

checking off any of the boxes would have required me to be untruthful.

11.    The poll manager left for about five minutes and then returned. When

she came back, she insisted that I could not assist Mr. and Mrs. Kwon

because this was a statewide election and I did not meet the criteria to

provide them assistance in a non-federal election. At that point in time, I

decided to call the deputy director of Advancing Justice-Atlanta, Karuna

Ramachandran, for guidance on what to do. The poll manager proceeded to

also call her supervisor.
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12.    Karuna requested to speak to the poll manager on the phone. She

explained to the poll manager the different state law provisions that apply in

federal elections versus non-federal elections and that I was allowed to help

Mr. and Mrs. Kwon even though I was not a registered voter in the precinct,

a family member, or their caretaker because there was a federal candidate on

the ballot. During this time, the poll manger was also simultaneously

consulting with her supervisor on another phone.

13.    At some point during this exchange, the poll manager requested that I

ask Mr. and Mrs. Kwon—in Korean—about their level of proficiency in

English. I complied with this request, and Mr. Kwon said that he had limited

English proficiency.

14.    I reported this exchange to Karuna, who then advised the poll

manager that she could not ask Mr. and Mrs. Kwon this question because it

could be intimidating to the voters.

15.    While all of this was going on, I explained to Mr. and Mrs. Kwon that

I could legally interpret for them but that the poll workers were confused

about the laws.

16.    Finally, after more discussions between Karuna and the poll manager

and the poll manager and her supervisor, the poll manager permitted me to

assist Mr. and Mrs. Kwon.
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